                                                                                                               Case 2:17-cv-04142-VAP-AFM Document 16 Filed 09/15/17 Page 1 of 2 Page ID #:81


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                                                                                                           6 VERRAGIO, LTD.
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                   ♦ Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                          10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                                          11 VERRAGIO, LTD.,                              ) Case No. 2:17-cv-04142 VAP (AFMx)
                                                                                                                                                          )
                                                                                                          12              Plaintiff,                      )
                                                                                                                                                          )
                                                                                                          13
TUCKER ELLIS LLP




                                                                                                                      v.                                  ) NOTICE OF SETTLEMENT
                                                                                                                                                          )
                                                                                                          14 NINA ELLE JEWELS,                            )
                                                                                                                                                          )
                                                                                                          15               Defendant.                     )
                                                                                                                                                          )
                                                                                                          16
                                                                                                          17
                                                                                                          18          TO THE COURT:
                                                                                                          19          PLEASE TAKE NOTICE, pursuant to Local Rule 16-15.7, that Plaintiff Verragio,
                                                                                                          20 Ltd. and Defendant Nina Elle, Inc. doing business as Nina Elle Jewels believe that they
                                                                                                          21 have reached a resolution of this action. This resolution will resolve this matter in its
                                                                                                          22 entirety. The parties are currently working to finalize the settlement agreement relating
                                                                                                          23 to this resolution. The parties expect to finish memorializing the settlement within thirty
                                                                                                          24 (30) days. Therefore, the parties respectfully request that the current hearings, dates, and
                                                                                                          25 deadlines be vacated so that the parties can finalize the terms of the agreement.
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                                                                                       DATED:      September 15, 2017            Tucker Ellis LLP
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                                                                                  3
                                                                                  4                                              By:   /s/Howard A. Kroll
                                                                                                                                       Howard A Kroll
                                                                                  5                                                    Attorneys for Plaintiff
                                                                                                                                       VERRAGIO, LTD.
                                                                                  6
                                                                                  7 DATED:         September 15, 2017            Krane & Smith, APC
                                                                                  8
                                                                                  9
                                                                                                                                 By:   /s/Ralph C. Loeb
                                                                                 10                                                     Ralph C. Loeb
                                                                                                                                        Attorneys for Defendant
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11
                                                                                                                                        NINA ELLE, INC., doing business
                                                                                 12                                                     as NINA ELLE JEWELS.
                                                                                 13
TUCKER ELLIS LLP




                                                                                 14 *Pursuant to Local Rule 5-4.3.4(a)(2), the filing party attests that Defendant’s counsel
                                                                                 15 concurs in the content of this Notice of Settlement and has authorized its filing with his
                                                                                 16 electronic signature.
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